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               EXHIBIT M
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              Narcotics                  Heroin/Morphine Test
                                            No. NAR1 0003
              Analysis                    SIRt:HE
                                                  llfl!nufealllted lly




              Reagent
                                          I'Joadlll:ts • V..liclas • Training
                                 100 Hulller Place, Young•vllle, N.C. 2759& U.S.A.
                                      Phone: {919) 554-2244, (800) 356·7311
                                       Fax: (!119)5S4-2266,(800)88H181

              K~it                               www.slrohie.com

                               10 Individual, Disposable Testing Tubettea
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                       CAUTION: READ INSTRUCnON MANUAL BEFORE USJNQ.
                          Nitric Acid Reagent TESTING PROCEDuRE
                     WA.RNINQI Contal,. Strong A.c:ld.          External Antidota; ltntnedi"-Jy     ftciod
                     1. R41111!We Cap.                          svrfllc:e With watw. Neutrartl.le tvftb
                    2. Oepoalt lllspec:t matarJalln tube.       SOdium earnollllta (bllrl~
                                                                                       IIOCII!).      ,,
                    3. Replace c.ap llld lap firmlY to enew.   Internal Antfdola; In ca.. of lngeatron,

                    4. Break   ampo~~~a -AGITATE.
                       malllrlal falls to bottom oftldle.      do not Induce YDmlllng. . Dilute by
                                                               drinltlna water or IT!IIIc lll'ld Conlult.a
                                                               Phrslr:lan.


                   Yellow Changing alawty to Light Green or Yellow-Green Ia lndiOIIIMt ot Httrfan.
                   Orwnge..Yeflow Changing to Y11111ow is lndicatJve of Mol)'hJr,..
